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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY

  John Doe.
                                                         Case No. 2:21-cv-20706
                 Plaintiff,

         v.

  Baila Sebrow

                 Defendant


        THIS MATTTER having been brought before the court on the motion of the plaintiff,

 and upon notice to the defendant, and the court having reviewed the Memorandum of Law and

 Declaration submitted, and for good cause being shown,

        IT IS on this                  day of                , 2022, ordered that defendant’s

 counterclaims against plaintiff for fraudulent misrepresentation (first count), defamation (second

 count), and abuse of process (third count) are dismissed.



                                                      _______________________________
                                                      Hon.




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